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                                                                                      Apr 20, 2017
                             U NITED STA TES D ISTR ICT C O U R T
                             SO U TH ER N DISTR ICT O F FLO R IDA
             17-20275-CR-UNGARO/O'SULLIVAN
                          C A SE N O .
                                       21U.S.C.j846
                                       18U.S.C.j 1956(h)
                                       18U.S.C.j982(a)

 UN ITED STATE S O F A M E RICA



 K EVIN C.FUSC O ,
       a/k/a CCPO LIITA ''

        D efendant.
                                       /

                                           IN DIC TM EN T

        The Grand Jury charges that:

                                          COUNT 1
                      Conspiracy to D istribute a Controlled Substance
                                           (21U.S.C.j846)
        Beginning in oraround Septem ber 2015,and continuing through in oraround A pril2016,

 in M iam i-D ade County,in the Southern DistrictofFlorida,and elsew here,the defendant,

                                       K EVIN C .FU SCO ,
                                        a/lt/a HPO LIR A5''

 did knowingly and willfully com bine, conspire, confederate, and agree w ith other persons

 unknown to the Grand Jury,to distribute a controlled substance,in violation ofTitle 21,United

 StatesCode,Section841(a)(l),
                            'a11inviolationofTitle21,UnitedStatesCode,Section 846.
        The controlled substance involved in the conspiracy attributable to K EV IN C .FU SCO ,

 a/k/a <EPO LIR AO''asa resultofhisown conduct,and the conductofotherconspiratorsreasonably

 foreseeable to him , is a m ixture and substance containing a detectable am ount of 3,4-
Case 1:17-cr-20275-UU Document 5 Entered on FLSD Docket 04/20/2017 Page 2 of 5



 M ethylenedioxm etham phetam ine,a Schedule l controlled substances,in violation of Title 21,

 UnitedStatesCode,Section841(b)(1)(C).
                                          COUNT 2
                          C onspiracy to Com m it M oney Laundering
                                       (18U.S.C.j1956(h))
        Beginning in oraround Septem ber2015,and continuing through in or around A pril2016,

 in M iam i-D ade County,in the Southern D istrid ofFlorida,and elsew here,the defendant,

                                       K EVIN C .FU SC O ,
                                        a/k/a GPO LIR A 5''

 did knowingly and w illfully com bine, conspire, confederate, and agree w ith other persons

 unknown to the Grand Jury, to com m it certain offenses against the United States, that is,to

 know ingly conduct a financial transaction affecting interstate and foreign com m erce, which

 transaction involved the proceeds of specified unlawful activity,knowing that the propel'ty

 involved in the transaction represented the proceeds of som e form of unlaw ful activity, and

 knowing thatthe transaction w as designed in w hole and in pal4 to concealand disguise the nature,

 the location,the source,the ownership, and the control of the proceeds of specified unlaw ful

activity,inviolationofTitle 18,United StatesCode,Section l956(a)(1)(B)(i).
        lt is further alleged that the specified unlaw ful activity is the felonious m anufacture,

im portation, receiving, concealm ent, buying, selling, or othenvise dealing in a controlled

 substance,in violation ofTitle 21,United StatesCode,Sections846 and 841(a)(1),punishable
underthe law s ofthe U nited States.

        AllinviolationofTitle18,United StatesCode,Section 1956(h).
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                                FO RFE ITUR E ALL EG A TIO N S

                The allegations of this lndictm ent are re-alleged and by this reference fully

 incorporated herein forthe purpose ofalleging crim inalforfeiture to the U nited States ofA m erica

 ofcertain property in which the defendant,K EV IN C .FU SC O ,a/lt/a CCPO LIllA ,''hasan interest.

                Upon conviction ofa violation ofTitle21,U nited StatesCode,Sections841ancl/or

 846, the defendant shall forfeit to the United States of Am erica any property constituting, or

 derived from ,any proceedsobtained,directly orindirectly,asthe resultofsuch violation,and any

 property used, or intended to be used, in any m anner or part,to com m it,or to facilitate the

 com m ission of,such violation.

               U pon conviction of a violation ofTitle 18,United States Code,Section 1956,or

 conspiracy to com m it such violation,the defendantshall forfeitto the U nited States ofA m erica

 any property, real or personal, involved in such offense, and any property traceable to such

property.


        Al1pursuanttoTitle 18,United StatesCode,Section 982(a)(1)andTitle21,UnitedStates
 Code,Section 853.



                                                         XTRUEBILL

   î                    p '                              FOREPERSON
BEN JA M W G .G REEN BERG
A CTW G U N ITED STA TES A TTORN EY



 FR AN CISCO .M A E
 A SSISTAN T UN ITED STA TES A TTO RN EY
                              UNITED5STATES
     Case 1:17-cr-20275-UU Document         DISTRI
                                       Entered    CT COURT
                                               on FLSD  Docket 04/20/2017 Page 4 of 5
                              SO UTHERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                          CASE NO.
M.
                                                       C ERTIFIC ATE O F TRIA L A TTO R NEY*
K EVIN C.FUSCO
        a/k/adxpoLIRA,''
                                 Defendant.
                                              /        Superseding Case Inform ation:

Coud Division:(selectone)                              New Defendantts)             Yes          No
                                                       Num berofNew Defendants
                                                       Totalnumberofcounts
 X F
   Mi
    TaLmi                 K
                          weIBWest      FTp
        Ido herebycertify that:
                 Ihavecarefullyconsidered theallegations 9fthe indictmqnt,the numberofdefendants,the numberof
                 probable witnesses and the Iegalcom plexlties ofthe Indlctm ent/lnform ati
                                                                                          on attached hereto.
        2.       Iam aware thatthj information supplied oq this jtqtem eqtwillbe relied upon by the Judges ofthis
                 Courtin setting thelrcalçndars and schedullng crlm lnaltrlals underthe mandate ofthe SpeedyTrial
                 Act,Title 28 U.S.C.Sectlon 3161.
        3.       Iqterpreter:     (Yesc!rNo)      No
                 LlstIanguage and/ordlalect
        4.       Thi
                   s case willtake      5         days forthe partiesto try.
        5.       Please check appropriate category and type ofoffense Iisted below:
                 (Checkonl
                         yone)                                            (Checkonlyone)
                 0 to 5 days                           X                   Petty
                 6 to 10 days                                              M inor
                 11to 20 days                                              Misdem .
                 21to 60 days                                              Felony          = -
                 61days and over
        6.       Hasthiscasebeenpreviouslyfiledinthis DistrictCourt? (YesorNo)             No
        Ifyes:
        Judge:                                                Case No.
        (Attachcopyc)di
                      sposi
                          tive?rdeq
        Ha
        If sacomplalntbeenfiled Inthlsmatter?                (YesorNo)
        Myej:
         aglstrate Case No.                        17-MJ-02370-Garber
        Related Miscjllaneous num bers:
        Defendantts)lnfederalcustodyasof               arc     ,
        Defendantts)Instatecustodyasof
        Rule 20 from the                                       Is rI
                                                                   co
        Isthisa potentialdeathpenaltycase?(YesorNo)                No
                 D?es this case originate from a m atterpending in the Northern Region ofthe U.S.Attorney's Office
                 prlorto October14,2003?                     Yes   X       No

        8.       Dges this case originate from a m atterpending in the CentralRegion ofthe U.S.Attorney's Office
                 prlorto Septem ber1,2007:2                  Yes   X       No



                                                              rancisco R. a era
                                                             ASSISTANT UNITED STATES ATTORNEY
                                                   '         Florida BarNo.0041481
*penaltySheetts)attached                                                                                 REV 4/8/08
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                           U NITED STA TE S D ISTR ICT C O U R T
                           SO U TH E RN DISTR ICT O F FLO RIDA

                                      PENA LTY SH EET

 Defendant'sNam e: KEVIN C.FUSCO,alèla dIPO LIRA,''

 C ase N o:

 Count#:1

 Conspiracy to D istribute Controlled Substances

 Title21,United StatesCode,Sections846,841(a)(1)& 841(b)(1)(C)
 *M ax.Penalty:20 Y ears'Im prisonm ent

 Count#:2

 Conspiracy to Com m itM oney Laundering

 Title18,UnitedStatesCode,Section 1956(h)& 1956(a)(1)(B)(i)
 *M ax.Penalty:20 Y ears'Im prisonm ent




 WR efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
